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 5
     Attorney for Defendant
     MELISSSA TORRES
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. 2:14-cr-00097-MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS & ORDER
12
     TORRES et al.,                                   )
                                                      )       Date: October 23, 2014
13
                                                      )       Time: 9:00 a.m.
               Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Melissa Torres, John R.
18

19   Manning, Esq., counsel for defendant Johnny Torres, Scott L. Tedmon, Esq., counsel for

20   defendant Donovan Torres, Matthew C. Bockmon, Esq., counsel for defendant Sally Evans,
21
     James R. Greiner, Esq., and counsel for defendant Jorge Magana, Philip Cozens, Esq., hereby
22
     stipulate the following:
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24
          1. By previous order, this matter was set for status conference on September 11, 2014.

25        2. By this stipulation, defendant now moves to continue the status conference until October
26
     23, 2014 and to exclude time between September 11, 2014 and October 23, 2014 under the Local
27
     Code T-4 (to allow defense counsel time to prepare).
28
          3.   The parties agree and stipulate, and request the Court find the following:

                                                          1
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            a. Currently, the government has provided in excess of 150 pages of discovery as well
 1

 2              as 20 DVDs with video.

 3          b. Counsel for the defendants need additional time to review the discovery, conduct
 4
                investigation, and interview potential witnesses.
 5
            c. Counsel for defendants believe the failure to grant a continuance in this case would
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 7
                deny defense counsel reasonable time necessary for effective preparation, taking into

 8              account the exercise of due diligence.
 9          d. The government does not object to the continuance.
10
            e. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendant in a
12

13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of
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                September 11, 2014, to October 23, 2014, inclusive, is deemed excludable pursuant to
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                18 United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local
18

19              Code T-4 because it results from a continuance granted by the Court at defendant’s

20              request on the basis of the Court’s finding that the ends of justice served by taking
21
                such action outweigh the best interest of the public and the defendant in a speedy
22
                trial.
23

24
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the

25          Speedy Trial Act dictate that additional time periods are excludable from the period within
26          which a trial must commence.
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     IT IS SO STIPULATED.
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                                                      2
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 1
     Dated: August 20, 2014                          /s/ John R. Manning
 2                                                  JOHN R. MANNING
                                                    Attorney for Defendant
 3                                                  Melissa Torres
 4
     Dated: August 20, 2014                          /s/ Scott L. Tedmon
 5                                                  SCOTT L. TEDMON
                                                    Attorney for Defendant
 6                                                  Johnny Torres
 7
     Dated: August 20, 2014                         /s/ Matthew C. Bockmon
 8                                                  MATTHEW C. BOCKMON
                                                    Attorney for Defendant
 9                                                  Donovan Torres
10
     Dated: August 20, 2014                          /s/ James R. Greiner
11                                                  JAMES R. GREINER
                                                    Attorney for Defendant
12
                                                    Sally Evans
13
     Dated: September 7, 2014                        /s/ Philip Cozens
14                                                  PHILIP COZENS
                                                    Attorney for Defendant
15
                                                    Jorge Magana
16
     Dated: September 3, 2014                       Benjamin B. Wagner
17                                                  United States Attorney
18
                                                    by:/s/ Christiaan Highsmith
19                                                  CHRISTIAAN HIGHSMITH
                                                    Assistant U.S. Attorney
20

21
                                        ORDER
22
           IT IS SO FOUND AND ORDERED.
23

24   Dated: September 9, 2014
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